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                     IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION




UNITED STATES OF AMERICA                                                   PLAINTIFF


v.                             NO. 4:13CR00179-002 SWW


MICHAEL ALLEN YOUNG                                                        DEFENDANT



                                            ORDER

       The U. S. Probation Office has advised the Court that the custody range listed in the

Judgment and Commitment [doc #257] contained a typographical error.

       IT IS SO ORDERED that the Judgment and Commitment, Statement of Reasons, page 1,

I. B. 2 be amended to reflect that the custody range is 151-188 months.

       IT IS FURTHER ORDERED that all other terms and conditions of defendant’s Judgment

and Commitment shall remain unchanged and in full force and effect.

       DATED this 11th day of December 2014.



                                              /s/Susan Webber Wright
                                              UNITED STATES DISTRICT JUDGE
